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               Appellate Division of the Supreme Court
                       of the State of New York
                      First Judicial Department


         I, Susanna M. Rojas, Clerk of the Appellate Division of the
    Supreme Court of the State of New York, First Judicial
    Department, do hereby certify that

                         Lauren Tabaksblat
    was duly licensed and admitted to practice as an Attorney and
    Counselor at Law in all the courts of this State on March 16, 2009,
    has duly taken and subscribed the oath of office prescribed by law,
    has been enrolled in the Roll of Attorneys and Counselors at Law
    on file in this office, is duly registered with the Administration
    Office of the Courts, and according to the records of this Court is
    currently in good standing as an Attorney and Counselor-at-Law.



                              In Witness Whereof, I have hereunto set
                              my hand in the City of New York on
                              May 24, 2021.




                                           Clerk of the Court




    CertID-00016059
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                       Supreme Court of the State of New York
                        Appellate Division, First Department
                                                 ROLANDO T. ACOSTA
                                                    PRESIDING JUSTICE
     SUSANNA MOLINA ROJAS                                                                  MARGARET SOWAH
          CLERK OF THE COURT                                                               DEPUTY CLERK OF THE COURT




    To Whom It May Concern


           An attorney admitted to practice by this Court may request a certificate of good
    standing, which is the only official document this Court issues certifying to an
    attorney's admission and good standing.


           An attorney's registration status, date of admission and disciplinary history may
    be viewed through the attorney search feature on the website of the Unified Court
    System.


           New York State does not register attorneys as active or inactive.


          An attorney may request a disciplinary history letter from the Attorney
    Grievance Committee of the First Judicial Department.


         Bar examination history is available from the New York State Board of Law
    Examiners.


           Instructions, forms and links are available on this Court's website.




                                                                Susanna Rojas
                                                                Clerk of the Court




    Revised October 2020



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